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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

DISABILITY RIGHTS NEW JERSEY, INC.,
a New Jersey non-profit corporation,

                       Plaintiff,
                                                         Civil Action No. 3:10-cv-03950-DRD-PS
       - against -
                                                         ECF Case
JENNIFER VELEZ, in her official capacity as
Commissioner, State of New Jersey Department             NOTICE OF MOTION
of Human Services, and
                                                         ORAL ARGUMENT REQUESTED
STATE OF NEW JERSEY

                       Defendants.



               PLEASE TAKE NOTICE that Plaintiff Disability Rights of New Jersey

(“DRNJ”) upon accompanying Memorandum in Support of DRNJ’s Motion for Summary

Judgment, and accompanying Statement of Undisputed Facts in Support of Motion for Summary

Judgment and all prior proceedings and pleadings herein, will move this Court, at the United
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 States District Court for the District of New Jersey, before the Honorable Patty Schwartz, on a

 date and at such time as may be designated by the Court, for an Order granting Plaintiff’s request

 for summary judgment.



 Dated: Newark, New Jersey
        November 28, 2012

s/ William Emmett Dwyer
William Emmett Dwyer                    Mitra Hormozi (admitted pro hac vice)
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